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                 Todd F. Nevell, State Bar No. 170054
                 Harry F. Scolinos, State Bar No. 62704
                                                                                      •    Fi.LED
                                                                                    Superior Court of California
               2 SCOLINOS, SHELDON & NEVELL                                            County of Los Angeles
                 301 North Lake Avenue, 7th Floor
               3 Pasadena, California 91101                                               JAN 2 SZ0\6
                 Telephone:     (626) 793-3900
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                                                                               shern'         ·~
                                                                                                         , Deputy
                                                                                By,:s       ttu        '
               5 Attorneys for Plaintiff, DENISE A. ALVERSON                          lshayla Chambers
               6

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                                       DlL\- Trr-esa S0\-Y\eM_r f-1 i1lYl1 VV'v
               8                      SUPERIOR COURT OF THE STATE OF CALIFOliNI~

               9                                 FOR THE COUNTY OF LOS ANGELES

              10

              11   DENISE A. ALVERSON,                             )
                                                                   )
                                                                           CASE NO.:          BC 6 0 81 0 0
              12                    Plaintiff,                     )       COMPLAINT FOR DAMAGES
                                                                   )       FOR:
              13              v.                                   )

              14   US BANK, ELAVON.INC., and DOES
                                                                   )
                                                                   )
                                                                           \ 1. Disability Discrimination;                                  By Fax
                   1 through 100, inclusive,                       )       2. Failure to Engage in Good Faith in the
              15                                                   )          Interactive Process;
                                    Defendants.                    )
              16                                                   )       3. Failure. to Accommodate Disability;
                                                                   )
              17                                                   )       4. Retaliation for Engaging in Protected
                                                                   )          Activity;
              18                                                   )
                                                                   )       5. Failure to Prevent and Remedy
              19                                                   )          Discrimination;
                                                                   )
              20                                                   )       6. Violation of California Family Rights Act;
                                                                   )
              21                                                   )       7. Retaliation in Violation of California
                                                                   )          Family Rights Act and for Exercise of
              22                                                   )          Privacy Rights;               ;.:. -o c;.o
                                                                   )                                                                        m :r.- :t.- m
                                                                                                                                            <.• <         --l ("")
                                                                                                                                                                        ... ' .,...,
                                                                                                                                                                                . ...
              23                                                   )       8. Wrongful Termination in Violllt~rfOCJ
     <:)                                                           )          Public Policy    ("') n ., r) ~ ~ 'l. ~
                                                                                                                                                                                :r;.
                                                                                                                                                                                (.I)

     i~ ~     24                                                   )                                     l>       :r:       I>        :r:   0     • • '-'                       m
                                                                                                         AlX.'t.f)CTl··                                  ':::'#         •n      ••


        ..         ---------------                                 )        fDEMAND FOR JUJfi' ~i&RI ~
              25                                                                                                  m                                "'-O'-<
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                                                                                                                                                  '-11 ...... :z:
     !\}
              26        Plaintiff, DENISE A. ALVERSON ("Plaintiff'), alleges as follows:
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       ..     27                                               THE PARTIES
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     li.,,)                                                                                                                                             $:~
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     j,~
              28         1.        Plaintiff, DENISE A. ALVERSON, was at all times during the evems alleged in
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                                                        COMPLAINT FOR DAMAGES
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                             •                                          •
           this Complaint, a resident of the County of Los Angeles, State of California.

       2           2.     Defendants, US BANK, ELAVON INC., and DOES 1 through 25 inclusive,

       3 were and are corporations, associations, partnerships, joint ventures, or other business entities,

       4 doing business in the County of Los Angeles, State of California.             Said Defendants were

       5 "employers" as defined by Government Code §12900 et. seq. (hereinafter "FEHA"), in that said

       6 Defendants regularly employed 5 or more persons.

       7           3.     DOES 26 through 100, inclusive, were either managers, supervisors, agents,

       8 employees and/or officers of defendants, or alternatively, acted separately, individually, apart and

       9 outside of the course and scope of that agency and/or employment.

      10           4.     Plaintiff is ignorant of the true names and capacities of defendants sued herein as

      11 DOES 1 through 100, inclusive, and therefore sues these defendants by such fictitious names.

      12 Plaintiff will ask this Court for leave to amend this Complaint to allege their true names and

      13 capacities when the same have been ascertained. Plaintiff is informed and believes and thereon

      14 alleges that each of the fictitiously named defendants is legally responsible in some manner for the

      15 events and happenings herein alleged, and that plaintiffs damages as herein alleged were

      16 proximately caused by such conduct. Unless otherwise specified, the use of the term "defendants"

      17 throughout this Complaint refers to the named defendants and the DOE defendants, inclusively.

      18           5.     Plaintiff is informed and believes and thereon alleges that, at all times mentioned,

      19 each of the defendants, including each of the fictitiously named defendants, was the agent and

      20 employee of each of the remaining defendants, and in doing the things hereinafter alleged, was

      21 acting within the scope and course of such agency.

      22                        FACTS COMMON TO ALL CAUSES OF ACTION
      23           6.     The instant action is brought pursuant to California Fair Employment and Housing

      24 Act (FEHA), Government Code§§ 12920-12940, et seq, to obtain relief for Plaintiff for unlawful

      25 discrimination and retaliation. Plaintifftimely caused "Complaint(s) of Discrimination" to be

     26 filed with the California Department of Fair Employment and Housing and otherwise complied

      27 with the statutorily imposed administrative requirements prior to the commencement of this

      28 action.

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                                               COMPLAINT FOR DAMAGES
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                       7.
                                  •                                              •
                              Plaintiff commenced her employment with the Defendants US Bank, Elavon Inc.,

            2 and other named Defendants in 2012 as a Payment Solutions Consultant and at all times provided

            3 competent, loyal and dedicated service to the Defendants.

            4          8.     On April 12, 2014, Plaintiff was placed on· medical/disability leave in order to give

            5 birth to twin babies, a month prior to the expected due date. Plaintiff worked up through April II,
            6 2014, the day before the birth of the twins.

            7         9.      Following their birth, the twins were placed in the neonatal intensive care unit

            8 (NICU) where they remained for an extended time.

            9          10.    The early birth caused medical complications for both Plaintiff and her twin babies.

           10 In addition, Plaintiff suffered from major depression and anxiety. These circumstances resulted in

           11 Plaintiff being placed on disability by her treating physicians.

           12          11.    Thereafter, Plaintiffs disability was extended by her treating physician. Plaintiff

           13 notified Defendants of the same. Nonetheless, Plaintiff began receiving calls from her manager

           14 asking when she would be returning and was forced to contact human resources in order to get the

           15 phone calls to stop.

           16          12 .   On January I5, 2015, Plaintiff emailed Defendants' human resources department to

           17 inform them that her doctor had extended her disability through February 14, 2015.

           18          13.    In response, on January 27,2015, Plaintiffwas terminated.

           19          14.    Following her termination, Plaintiff applied for unemployment benefits.

           20 Defendants contested Plaintiffs claim. The Employment Development Department (EDD)

           21 determined that "claimant was terminated while out on a medical leave of absence and was not

           22 allowed to return to work" and ordered unemployment benefits be paid.

           23                                    FIRST CAUSE OF ACTION
(~")
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h:-:-i·    24                                (DISABILITY DISCRIMINATION)
! · .. ~
           25                             BY PLAINTIFF DENISE A. ALVERSON
!L,)                                      AGAINST DEFENDANTS U.S. BANK,
1.,,.q     26                             ELA VON, INC., AND DOES 1 THROUGH
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                                          100, INCLUSIVE.
           27
f; ••)

<S~        28          15.    Plaintiffre-alleges and incorporates by reference paragraphs 1 through 14, as
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                                                   COMPLAINT FOR DAMAGES
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                                •
            though fully set forth in full.
                                                                           •
        2           16.     Pursuant to California Government Code § 12940, et seq. and Title 1 of the

        3 Americans with Disabilities Act of 1990 (42 U.S.C. sections 12101, et seq.)("ADA") it is an

        4 unlawful employment practice for an employer, because of the disability of a person, to

        5 discriminate against the person in the terms, conditions or privileges of employment.

        6           17.     At all times mentioned herein, Plaintiff was suffering from anxiety, depression and

        7 emotional and/or mental illness which limited a "major life activity" as described herein. Despite

        8 her disabilities, Plaintiff was able to perform the essential functions of her job with or without

        9 reasonable accommodations.

       10           18.     Defendants, and each of them, knew ofPiaintiffs disabilities and knew or should

       11 have known that they fell within the definition of disability under Government Code section

       12 12926. But Defendants further knew or should have known that despite her disabilities, Plaintiff

       13 could perform the essential functions of her job with or without reasonable accommodations.

       14           19.     Despite their knowledge of the foregoing, Defendants took adverse action against

       15 Plaintiff, including the failure to accommodate Plaintiffs disabilities and thereafter terminating

       16 her employment because of her disabilities or the effects thereof.

       17           20.     In engaging in the foregoing conduct, Defendants aided, abetted, incited,

       18 participated in, coerced and/or compelled unlawful employment practices in violation of

       19 California's Fair Employment and Housing Act.

       20           21.     As a direct, legal and proximate result of plaintiffs disabilities, Defendants, and
                                                                    \'•
       21 each of them, discriminated against plaintiff in the terms, conditions and privileges of her

       22 employment.

       23 Plaintiff has been caused to and did suffer and continues to suffer from severe emotional and

       24 mental distress, anguish, humiliation, embarrassment, alienation, fright, shock, pain, past and
 ...
       25 future medical bills, discomfort, and anxiety.

       26           22.     By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has

       27 been directly, foreseeably, and proximately caused to suffer actual damages including, but not

       28 limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and other

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                                                 COMPLAINT FOR DAMAGES
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                                                                              •
              pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend

          2 when ascertained.

          3                                       SECOND CAUSE OF ACTION

          4                           (FAILURE TO ENGAGE IN GOOD FAITH IN
                                           THE INTERACTIVE PROCESS)
          5
                                           BY PLAINTIFF DENISE A. ALVERSON
          6                                AGAINST DEFENDANTS U.S. BANK,
                                           ELA VON, INC., AND DOES I THROUGH
          7                                I 00, INCLUSIVE.

          8          23.
                                     I
                             Plainti,re-alleges and incorporates by reference paragraphs 1 through 22, as

          9 though fully set forth in full.                      ·    .

         10          24.     Pursuanl to California Government Code§ I2940, et seq. and ADA, an employer
                         . a hme
         I I must engage m            I    ~ . h mteracttve
                              . IY., goo d 1a1t  .      . process m                       ~ reasona
                                                                  . response to a request 10r   . bl e

         I2 accommodation by an 1mployee or applicant with a known physical or mental disability or known

         13 medical condition.
                                      II
         14          25.     Plaintiff had a mental, psychological, medical disability and/or was considered

         15 disabled by Defendant.

         16          26.     Plaintifflrequested that a reasonable accommodation be made for her disability.

         17 Specifically, plaintiff asked that as an accommodation for her disability, her unpaid medical leave

         18 be extended. In responle, Defendants, and each of them, failed to engage in a timely, good faith

         I9 accommodation procesl in order to determine whether Plaintiffs disability could be reasonably
                                  . I                                     .
         20 accommodated. Instead, Defendants unlawfully terminated Plaintiff.
                                      I           .
         21          27.     As a further direct, foreseeable and proximate result of the acts and conduct of
                                      I                                                                          .
         22 Defendants, and each of them, as aforesaid, Plaintiff has been caused to and did suffer and

         23 continues to suffer froJ severe emotional and mental distress, anguish, humiliation,
::s,                                  I


~~-,,~   24   em~arrassment, alienatillon, fright, shock, pain, past and future medical bills, discomfort, and
   ·-    25   anxte~.                 .                                   .
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                                      I
i.)!     26          28.     By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has
                                  . I         .
  ·~ .

         27 been directly, foreseeably, and proximately caused to suffer actual damages including, but not
,.!'_.
:~~)     28 limited to, loss of earnJgs and future earning capacity, attorneys' fees, costs of suit and other
j.,.,.                                I
:If)                                  I                        -5-
                                                      COMPLAINT FOR DAMAGES
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                                  •                                           •
               pecuniary Joss not presently ascertained, for which Plaintiff will seek leave of Court to amend

           2 when ascertained.

           3                                     THIRD CAUSE OF ACTION

           4
                            (FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF
           5                     CALIFORNIA GOVERNMENT CODE § 12940, ET SEQ.)

           6                              BY PLAINTIFF DENISE A. ALVERSON
                                          AGAINST DEFENDANTS U.S. BANK,
           7                              ELA VON, INC., AND DOES I THROUGH
                                          100, INCLUSIVE.
           8
           9          29.     Plaintiff re-alleges and incorporates by reference paragraphs I through 28, as

          l 0 though fully set forth in full.

          11          30.     Pursuant to California Government Code§ 12940, et seq. and ADA it is an

          12 unlawful employment practice for an employer to fail to make reasonable accommodations for the

          13 known disability of an employee.

          14          31.     Plaintiff had a mental, psychological, medical disability and/or was considered

          15 disabled by Defendant.

          16          32.     Plaintiff requested that a reasonable accommodation be made for her disability.

          17 Specifically, plaintiff asked that as an accommodation for her disability, her unpaid medical leave

          18 be extended.

          19          33.     In response, Defendants, and each of them, failed to reasonably accommodate her

          20 disability. Instead, Defendants unlawfully terminated Plaintiff.

          21          34.     As a further direct, foreseeable and proximate result of the acts and conduct of

          22 Defendants, and each o~ them, as aforesaid, Plaintiff has been caused to and did suffer and

,..,..    23 continues to suffer from severe emotional and mental distress, anguish, humiliation,
1• 1
"'"='""

          24 embarrassment, alienation, fright, shock, pain, past and future medical bills, discomfort, and
          25 anxiety.

          26          35.     By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has

          27 been directly, foreseeab\y, and proximately caused to suffer actual damages including, but not
{:."';
 ··~·
          28 limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and other

                                                               -6-
                                                   COMPLAINT FOR DAMAGES
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                               •                                           •
             pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend

         2 when ascertained.

         3                                   FOURTH CAUSE OF ACTION
         4                (RETALIATION FOR ENGAGING IN PROTECTED ACTIVITY)

         5                             BY PLAINTIFF DENISE A. ALVERSON
                                       AGAINST DEFENDANTS U.S . BANK,
         6                             ELA VON, INC., AND DOES 1 THROUGH
                                       100, INCLUSIVE.
         7
         8          36.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 35, as

         9 though fully set forth in full.

        10          37.     Retaliation for opposing discriminatory practices forbidden by the FEHA or for

        11 participating in any manner in the FEHA accommodation process is a separate civil cause of
        12 action. Government Code § 12940(h); Fisher v. San Pedro Peninsula Hospital, (1989) 214 Cal.

        13 App.3d 590,614.

        14          38.     During her employment with Defendants, Plaintiff engaged in legally protected

        15 activities, namely opposing the discrimination practices of defendants based on discrimination

        16 and retaliation, by seeking an extension of her unpaid medical leave, by seeking a reasonable

        17 accommodation of her disabilities and by exercising her privacy rights regarding her medical

        18 history and records.

        19          39.     After Plaintiff engaged in the foregoing described protected activities, she was

        20 subjected to adverse employment action as described above, including the termination of her

        21 employment.

        22          40.     The foregoing described adverse employment actions were taken in part or in

        23 whole because of Plaintiffs legally protected activity.

        24          41.     In engaging in the foregoing conduct, Defendants aided, abetted, incited,

        25 participated in, coerced and/or compelled unlawful employment practices in violation of the

        26 announced policies of this State against such practices.

        27          42.     As a further direct, foreseeable and proximate result of the acts and conduct of

(:::)   28 Defendants, and each of them, as aforesaid, Plaintiff has been caused to and did suffer and

                                                             -7-
                                                COMPLAINT FOR DAMAGES
Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 8 of 19 Page ID #:15



                               •                                            •
             continues to suffer from severe emotional and mental distress, anguish, humiliation,

         2 embarrassment, alienation, fright, shock, pain, past and future medical bills, discomfort, and

         3 anxiety.

         4          43 .    By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has

         5 been directly, foreseeably, and proximately caused to suffer actual damages including, but not

         6 limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and other

         7 pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend

         8 when ascertained.

         9                                     FIFTH CAUSE OF ACTION

        10                 (FAILURE TO PREVENT AND REMEDY DISCRIMINATION)

        11                             BY PLAINTIFF DENISE A. ALVERSON
                                       AGAINST DEFENDANTS U.S. BANK,
        12                             ELA VON, INC., AND DOES 1 THROUGH
                                       100, INCLUSIVE.
        13
        14          44.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 43, as

        15 though fully set forth in full.

        16          45.     Defendants, and each of them, failed to take all reasonable steps necessary to

        17 prevent discrimination and retaliation in employment from occurring. Furthermore, said

        18 Defendants knew or should have known of the discrimination and retaliation against Plaintiff

        19 described above, yet failed to conduct an adequate investigation into the nature and substance of

        20 the discrimination and/or retaliation and failed to take immediate and appropriate corrective action

        21 so as to discipline any of the offenders.

        22          46.     By failing to take all reasonable steps to prevent discrimination and retaliation, and

        23 by failing to properly investigate and remedy the discrimination and retaliation that occurred,

        24 Defendants committed unlawful employment practices as described and prohibited in Government

        25 Code section 12940(k).

i.J l   26          47.     In engaging in the foregoing conduct, Defendants aided, abetted, incited,

        27 participated in, coerced and/or compelled unlawful employment practices in violation of the

()      28 announced policies of this State against such practices.

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                                                 COMPLAINT FOR DAMAGES
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                                                                            •
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                    48.    As a fill1her direct, foreseeable and proximate result of the acts and conduct of
                                    I


         2 Defendants, and each of them, as aforesaid, Plaintiff has been caused to and did suffer and
                                    I
                                    I
         3 continues to suffer fron)I severe emotional and mental
                                                           .
                                                                  distress, anguish, humiliation,

         4 embarrassment, alienat~on, fright, shock, pain, past and future medical bills, discomfort, and
                                    I


         5 anxiety.                 I
         6          49.    By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has

         7 been directly, foreseeaJiy, and proximately caused to suffer actual damages including, but not
                                    I
         8 limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and other
                                    !
         9 pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend
                                    I
        10 when ascertained.

        11                                        SIXTH CAUSE OF ACTION
                                    I
        12                    (VIOLATION OF CALIFORNIA FAMILY RIGHTS ACT)

        13                          I AGAINST
                                      BY PLAINTIFF DENISE A. ALVERSON
                                               DEFENDANTS U.S. BANK,
        14                                   ELA VON, INC., AND DOES 1 THROUGH
                                             100, INCLUSIVE.
        15
                                    -I
        16          50.   Plaintiff:re-alleges and incorporates by reference paragraphs 1 through 49, as
                                    I
        17 though fully set forth in! full.
                                    I
        18          51.    Plaintifr:is a member of the class of persons entitled to protected medical and/or
                                    I
        19 family leave under the <I:alifornia
                                  I
                                               Family Rights Act, embodied in Government Code section
                                  i
        20 12945.2. Specifically, Plaintiff worked for more than one (1) year for Defendants and worked in
                                        I
        21   excess of one thousand iwo hundred and fifty hours (1 ,250) in the preceding twelve (12) months
                                        I
        22 prior to Plaintiffs requJsted and/or taken leaves. Further, Plaintiff had qualifying serious health
                                        II
        23 conditions as described Iherein.
 (~)
 ~--~   24          52.    Defendahts are employers covered by and subject to the California Family Rights
                                        I    •             •

  -._                                   I
        25 Act (or other persons su,bject to suit under it) because Defendants employed fifty (50) or more full-
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 ~.)l   26 or part-time employees       ~or each working day of each of the twenty (20) calendar weeks preceding
 :.,_
        27 and following the leave !periods.
j··~)
                                        I
 (3;)   28          53.    Defendants violated the California Family Rights Act by refusing to allow Plaintiff
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                                                   COMPLAINT FOR DAMAGES
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Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 10 of 19 Page ID #:17



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                    to take required leave v(,ithout consequence, terminating Plaintiff because of protected absences,
                                              I
                2 interfering with Plaintiffs right to leave, counting Plaintiffs legally-protected absences against
                                              I                                                  -
                3 Plaintiff for purposes of termination, otherwise discouraging Plaintiff from taking required leave
                                              I
                4 and/or failing to advise IPlaintiff about leave rights and procedures regarding the taking of

                5 protected leave.

                6           54.     In engaging in the foregoing conduct, Defendants aided, abetted, incited,

                7 participated in, coerced!and/or compelled unlawful employment practices in violation of the
                                              I
                8 armounced policies of this State against such practices.

                9           55.     As a dirlct, foreseeable and proximate result of the acts and conduct of Defendants,
                                              I
               10 and each of them, as aforesaid,
                                         I
                                                  Plaintiff has been caused to and did suffer and continues to suffer

               11 from severe emotional      ~d mental distress, anguish, humiliation, embarrassment, alienation,
               12 fright, shock, pain, past!and future medical bills, discomfort, and anxiety.

               13           56.     By the   a~oresaid acts and omissions of Defendants, and each of them, Plaintiff has
                                              I
               14 been directly, foreseeably, and proximately caused to suffer actual damages including, but not
                                              I
               15 limited to, loss of earnihgs and future earning capacity, attorneys' fees, costs of suit and other
                                              I             .
                                              i
               16 pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend
                                              I
                                              I
               17 when ascertained.           I
               18                             i
                                              I
                                                      SEVENTH CAUSE OF ACTION
                                              I

               19          (RETALIATION IN VIOLATION OF CALIFORNIA FAMILY RIGHTS ACT
                                      ~ND FOR EXERCISE OF PRIVACY RIGHTS)
               20
                                             I    BY PLAINTIFF DENISE A. ALVERSON
               21                                 AGAINST DEFENDANTS U.S. BANK,
                                                  ELA VON, INC., AND DOES l THROUGH
               22                                 l 00, INCLUSIVE.
               23           57.
                                              i
                                    Plaintify e-alleges and incorporates by reference paragraphs 1 through 56, as
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 !·-ri:        24 though fully set forth iri full .
  : ~:   ...                                  I
               25          58.      Plaintiffiis a member of the class of persons entitled to protected medical and/or
 ! · -~·




 \Fl           26 family leave under the California Family Rights Act, embodied in Government Code section
  : ~fr
                                              I
               27 12945 .2. Specifically, Plaintiff worked for more than one (1) year for Defendants and worked in
 ri...)

 <=)           28 excess of one thousand two hundred and fifty hours ( 1,250) in the preceding twelve ( 12) months
 !-~·


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                                                          COMPLAINT FOR DAMAGES
Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 11 of 19 Page ID #:18



                                •                                           •
             prior to Plaintiffs requested and/or taken leaves. Further, Plaintiff had qualifying serious health

         2 conditions as described herein.

         3          59.     Defendants are employers covered by and subject to the California Family Rights

         4 Act (or other persons subject to suit under it) because Defendants employed fifty (50) or more full-

         5 or part-time employees for each working day of each of the twenty (20) calendar weeks preceding

         6 and following the leave periods.

         7          60.     Defendants violated the California Family Rights Act by retaliating against

         8 Plaintiff because she sought to exercise and/or did exercise rights under the California Family

         9 Rights Act, including, but not limited to, Defendants terminated Plaintiffs employment in whole

        10 or in part because she sought to exercise and1or did exercise rights under the California Family

        11 Rights Act and the exercise of her confidentiality and privacy rights regarding her medical history

        12 and records.

        13          61.     In engaging in the foregoing conduct, Defendants aided, abetted, incited,

        14 participated in, coerced and/or compelled unlawful employment practices in violation of the

        15 announced policies of this State against such practices.

        16          62.     As a direct, foreseeable and proximate result of the acts and conduct of Defendants,

        17 and each ofthem, as aforesaid, Plaintiff has been caused to and did suffer and continues to suffer

        18 from severe emotional and mental distress, anguish, humiliation, embarrassment, alienation,

        19 fright, shock, pain, past and future medical bills, discomfort, and anxiety.

        20          63.     By the aforesaid acts and omissions ofDefendants, and each of them, Plaintiff has

        21   been directly, foreseeably, and proximately caused to suffer actual damages including, but not

        22 limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and other

        23 pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend

        24 when ascertained.

        25                                    EIGHTH CAUSE OF ACTION

 '.)1   26             (WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY)

        27                              BY PLAINTIFF DENISE A. ALVERSON
                                        AGAINST DEFENDANTS U.S . BANK,
        28                              ELA VON, INC., AND DOES I THROUGH
                                        100, INCLUSIVE.
                                                             -11-
                                                 COMPLAINT FOR DAMAGES
Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 12 of 19 Page ID #:19




                      64.
                                 •                                           •
                             Plaintiff re-alleges and incorporates by reference paragraphs 1 through 63, as

          2 though fully set forth in full.

           3          65 .   Plaintiffs employment was terminated in violation of fundamental public policies

           4 of the State of California, including, without limitation, the right to protections against

           5 discrimination because of a disability, the right to accommodations of a disability and the right to

           6 take statutory medical leave under the California Family Rights Act and/or Family and Medical

           7 Leave Act and the right to confidentiality of her medical records. These fundamental public

           8 policies inure to the benefit of the public, and not just the private interests of the employer and

           9 employee.

          10          66.     As set forth above, said actions by Defendants were wrongful and in violation of

          11 the fundamental principles of the public policy of the State of California as reflected in its laws,

          12 objectives and policies, Said laws, which establish these fundamental public policies include,

          13 without limitation: Government Code section 12940, et seq., Government Code section 12945 .2

          14 and related sections including the Family Medical Leave Act.

          15          67.     In engaging in the foregoing conduct, Defendants aided, abetted, incited,

          16 participated in, coerced and/or compelled unlawful employment practices in violation of the

          17 announced policies of this State against such practices.

          18          68.     As a direct, foreseeable and proximate result of the acts and conduct of Defendants,

          19 and each of them, as aforesaid, Plaintiff has been caused to and did suffer and continues to suffer

          20 from severe emotional and mental distress, anguish, humiliation, embarrassment, alienation,

          21 fright, shock, pain, past and future medical bills, discomfort, and anxiety.

          22          69.     By the aforesaid acts and omissions of Defendants, and each of them, Plaintiff has

          23 been directly, foreseeably, and proximately caused to suffer actual damages including, but not

          24 limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and other

          25 pecuniary loss not presently ascertained, for which Plaintiff will seek leave of Court to amend
   •.
;•- ..:

'.) i     26 when ascertained.
  ·..
          27          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as

 ()       28 follows:

                                                               -12-
                                                   COMPLAfNT FOR DAMAGES
Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 13 of 19 Page ID #:20




                         1.     For
                                      •  I                                     •
                                      gen~ral damages in an amount in excess of the jurisdictional minimwn of this
                                         I
              2 court and to be proven at trial, including damages for emotional distress;
              3         2.      For   spe~ial damages in an amount according to proof;
              4         3.      For loss! of earnings and earning capacity, both front and back pay, and any other

              5 job benefits to which Plaintiff would have been entitled to by reason of her employment with
                                      I
              6 Defendants, according to proof;
                                          I

              7         4.      For cost~ of suit incurred herein;

              8         5.      For rejonable attorneys' fees and costs incurred pursuant to statute and to the

              9 extent otherwise perrnitd by law;
                                        !
             10         6.      For prej{tdgment interest to the extent permitted by law;
                                          I

             11         7.      For perlnanent injunctive relief to prevent and deter the illegal employment
                                          I
                                          I
             12 practices complained of above; and
                                          '
             13         8.      For sue~ other and further relief as the Court deems just and proper.

             14
                                          I'
             15 DATED: January 11,2016                         SCOLINOS, SHELDON & NEVELL
                                   I
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             17
             18
                                                               Byd,~~
                                                               Attorneys for Plaintiff, DENISE A. ALVERSON.
             19
             20
             21
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                                                     COMPLAINT FOR DAMAGES
       Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 14 of 19 Page ID #:21



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                                                                                                                                                                              CM-010
               ATIORNEV OR PARTY WITHOUT ATIORNEV (Nomo, State Bsrnumbor, and addnJ..):                                                            FOR COVIn' USE ONLY
              ~-"ToddF. Nevell, State Bar No. 170054
                SCOLINOS, SHELDON & NEVELL
                301 North Lake Avenue 7th Floor
                Pasadena, California 91 {0 I
                                  (626) 793-3900
                        TELEPHONE NO.:                     FAX NO.: (626) 568-0930                                                                 FILED
                                  Plaintiff DENISE A. ALVERSON.
               ATIORNEV FOR (Name):
                                                                                                                                         Superior Court of California
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                          County of Los An!!'eles
                  sTREET AOOREss: Ill North Hill Street
                   MAILING ADDRESS:
                   ciTYANOZIPCODE:       Los Angeles 90012
                                                                                                                                                JAN 2 5 2016
                                         Central District, Stanley Mosk Courthouse
                                                                                                                                    herri K~;·, t:xecutive Ofiicer/Cierk
                         eRANCHNAME:
                                                                                                                               .I
                ~~.
                                                                                                                                    8 Y"'
                                                                                                                                            ~                0
                Denise A. Alverson v. US Bank, et al.                                                                                              Lt.                   ,   Deputv
                   CIVIL CASE COVER SHEET                                         complex case Designation                          CASE Nlllll~~aC_LG'!•amO!_DeR   1 OO
              [Z]       Unlimited             D
                                            Limited                   Counter D              JoinderD                                            t:S            0
                        (Amount             (Amount                                                          JUDGE:
                        demanded            demanded is        Filed with first appearance by defendant
                        exceeds $25,000}    $25,000 or less}       (Cal. Rules of Court, rule 3.402)          oEPT:
                                               Items 1-B below must be completed (see instructions on page 2).
              1. Check one box below for the case type that best describes this case:
                 Auto Tort                                    Contract                               Provisionally Complex Civil Litigation
                 D    Auto (22)                                           D
                                                                    Breach of contract/Warranty (06) (Cal. Rules of Court, rules 3.40c.-3.403)
                 D     Uninsured motorist (46)                            D
                                                                    Rule 3.740 collections (09)                          D
                                                                                                            AnUtrustrTrade regulation (03)
                 Other PUPDIWO (Personal InJury/Property                  D       Other collections (09)                 D          Constructlon defect (10)
                 DamageiWrongful Daath) Tort                              0       Insurance coverage (18)                D          Mass tort (40)
                 D     Asbestos (04) .                                    0       Other contract (37)                    0          Securities lltlgaUon (28)
                 D     Product liability (24)                      Real Property                                         0          EnvlronmentaVToxic tort (30)
                 D     Medical malpractice (45)                           D
                                                                         Eminent domain/Inverse                          D          Insurance coverage claims arising from the
                 D     Other PI/PDNVD (23)                               condemnation (14)                                          above listed provisionally complex case
                  Non-PIIPDIWD (Other) Tort                               D
                                                                         Wrongful eviction (33)                                     types (41)

                  D    Business tort/unfair business practice (07)        D
                                                                         Other real property (26)                        Enforcement of Judgment
                  D    Civil rights (08)                           Unlawful Detainer                                     0          Enforcement of judgment (20)
                  D    Oefamalion (13)                                    D
                                                                         Commercial (31)                                 Miscellaneous Civil Complaint
                  D         Fraud (16)                                    D Residential (32)                             D          RIC0(27)
                  D        lnlellectual property (1 9)                    D Drugs (38)                                   D          Other complaint (not specified above) (42)
                  0        Professional negligence (25)                   Judicial Review                                Miscellaneous Civil Petition
                  D        Other non-PI/PONVD tort (35)                   D Asset forfeiture (OS)                        D          Partnership and corporate governance (21)
                  ~loyment                                                D Petition re: arbitration award (11)          D          Other petition (not specified above) (43)
                  LLJ      Wrongful termination (36)                      D Writ of mandale (02)
                  D        Other employment ( 15)                         0 Olher judicial review (39)
              2. This case        U  is           l.:LJ
                                                is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                   factors requiring exceptional judicial management:
                   a.   D      Large number of separately represented parties                  d.   0    Large number of witnesses
                   b.   D      Extensive motion practice raising difficult or novel            e.   D    Coordination with related actions pending in one or more courts
                               issues that will be time-consuming to resolve                             in other counties, states, or countries, or in a federal cowt
                  C.    D      Substantial amount of documentary evidence                      f.   D    Substantial postjudgment judicial supervision                        .Dy       1' ax
              3. Remedies sought (check all/hat applr): a.[Z] monetary                       b.W        nonmonetary; declaratory or injunctive relief              c. Opunitive
              4. Number of causes of action (specify): 8 ~:~~~:~ ~~:i~~~;i~~t~ie~!i~~~~~~.e;~ft~~~~i:~'!i~a~~:n':n~i~J~~~~ ~tC:iifo~i~uf~i~tRigb~~;:c ~~~~~~~ic%: i~e~~~f~fonnr~f~~fff!~~in
                     .
              5. Th 1s case
                                   D .
                                   1s
                                        r71 .
                                        L.:LJ 1s no
                                                   I      I Family RighJS Acl and for Eun:isc of Privocy Rights; Wrongful Termination in Violation of Public Policy
                                                      a c ass acnon su11.
              6. If there are any known related cases, file and serve a notice of related case. (You
              Date• January 21, 2016
              Todd F. Nevell, Esq.
                                              (TYPE OR PRINT NAME)
                                                                                            NOTICE
                • Plaintiff must file this cover sheet with the first.paper filed in the action or proceeding (except small claims cases or cases filed
       !.)1       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.                        ·
                • Unless this is a collections case under rule 3.740 or a complex case. this cover sheet will be used for statistical purposes on11~ •• otz

              For:'U::r=~~~:J,i~se                                        CIVIL CASE COVER SHEET
                CM.01 0 (Rev. Ju'f 1, 20071
     Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 15 of 19 Page ID #:22
~J
                                                         •
                                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET            •
          To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
          complete and file, along with your first paper. the Civil Case Cover Sheet contained on page 1. This information will be used to compile
          statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
                                                                                                                                                       CM-010




          one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
          check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
          To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
          sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
          its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
         To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
         owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
         which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
         damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
         attachment. The identification of a case as a rule 3.740 collections case on this fonm means that it will be exempt from the general
         time-for-service requirements and case management rules, unless a defendant files a responsive pleading . A rule 3.740 collections
         case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
          To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
          case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court. this must be indicated by
          completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
          complaint on all parties to the action. A defendant may file and ser1e no later than the time of its first appearance a joinder in the
          plaintiffs designation. a counter-designation that the case is not complex, or. if the plaintiff has made no designation, a designation that
          the case is complex.                                         CASE TYPES AND EXAMPLES
          Auto Tort                                           Contract                                          Provisionally Complex Civil Litigation (Cal.
              Auto (22)-Personallnjury/Property                  Breach of ContractM/arranty (06)               Rules of Court Rules 3.40D-3.403)
                  Damage/Wrongful Death                              Breach of Rental/Lease                          AntitrusVTrade Regulation (03)
              Uninsured Motorist (46) (if the                            Contract (not unlawful detainer             Construction Defect (1 0)
                  case involves an uninsured                                  or wrongful eviction)                  Claims Involving Mass Tort (40)
                      motorist claim subject to                      ContractM/arranty Breach-Seller                 Securities Litigation (28)
                      arbitration, check this item                        Plaintiff (not fraud or negligence)        EnvironmentalfToxic Tort (30)
                      instead of Auto)                               Negligent Breach of ContracV                    Insurance Coverage Claims
            Other PIIPDIWD (Personal Injury/                              Warranty                                       (arising from provisionally complex
            Property Damage/Wrongful Death)                          Other Breach of ContractM/arranty                   case type listed above) (41)
            Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
                 Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
                      Asbestos Property Damage                       Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
                      Asbestos Personal Injury/                      Other Promissory Note/Collections                      County)
                           Wrongful Death                                 Case                                          Confession of Judgment (non-
                                                                 Insurance Coverage (not provisionally                        domestic relations)
                 Product Liability (not asbestos or
                                                                     complex) (18)                                       Sister State Judgment
                      toxic/environmental) (24)
                 Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
                      Medical Malpractice-                           Other Coverage                                         (not unpaid taxes)
                            Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
                      Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                            Malpractice                               Other Contract Dispule                             Other Enforcement of Judgment
                                                              Real Property                                                   Case
                 Other PIIPD/WD (23)
                      Premises Liability (e.g .. slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                            and fall)                                Condemnation (11.)                             RICO (27)
                      Intentional Bodily lnjury/PDIWD            Wrongful Eviction (33)                             Other Complaint (not specified
                                                                                                                         above) (42)
                            (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
                      Intentional Infliction of                                                                          Declaratory Relief Only
                                                                     Writ of Possession of Real Property
                            Emotional Distress                                                                           Injunctive Relief Only (non-
                                                                      Mortgage Foreclosure
                      Negligent Infliction of                                                                                 harassment)
                                                                      Quiet Title
                            Emotional Distress                                                                           Mechanics Lien
                                                                      Other Real Property (not eminent
                      Other PIIPDIWD                                  domain. landlordAenant, or
                                                                                                                         Other Commercial Complaint
                                                                                                                             Case (non-tort/non-complex)
            Non-PIIPDIWD (Other) Tort                                 foreclosure)
                                                              Unlawful Detainer                                          Other Civil Complaint
                 Business Tort/Unfair Business                                                                               (non-tortlnon-<:omplex)
                    Practice (07)                                Commercial (31)
                                                                                                                 Miscellaneous Civil Petition
                 Civil Rights (e .g., discrimination,            Residential (32)                                   Partnership and Corporate
                     false arrest) (not civil                    Drugs (38) (if the case involves illegal                Governance (21)
       ·~
      \,:,}           harassment) (08)                                drugs, check this item; otherwise,            Other Petition (not specified
                 Defamation (e.g., slander, libel)                    report as Commercial or Residential)               above) (43)
                       (13)                                   Judicial Review                                            Civil Harassment
                 Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
                 Intellectual Property ( 19)                     Petition Re: Arbilration Award (11)                     Elder/Dependent Adult
                 Professional Negligence (25)                    Wril of Mandate (02)                                         Abuse
                     Legal Malpractice                                Writ-Adminislrative Mandamus
                                                                                                                         Election Contest
                     Other Professional Malpractice                   Writ-Mandamus on Limited Court
      ;)1                                                                                                                Petition for Name Change
                           (not medical or legal)                        Case Matter                                     Petition for Relief From Late
       ._     Other Non-PI/PDIWD Tort (35)                            Wrii-Other Limited Court Case                           Claim
         ··Employment
                                                                         Review                                          Other Civil Petition
      !;-)    Wrongful Termination (36)                          Other Judicial Review (39)
              Other Employment (15)                                   Review of Health Officer Order
                                                                      Notice of Appeal-Labor
                                                                         Commissioner Appeals
      !•_..: CM·D10 (Rev. July 1, 2007]                                                                                                                  Page 2 of 2
                                                                  CIVIL CASE COVER SHEET
Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 16 of 19 Page ID #:23




      SHORT TITLE:
                     Alverson v. US Bank, et al.
                                                     •                                                                CASE NUMBER
                                                                                                                                  •                 BC 6 0
                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                            STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

       Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
          JURYTRIAL?       fill   YES     CLASSACTION? D           YES UMITEDCASE? DYES                                                   0 HOURS/I!J DAYS
                                                                                                                 TIMEESTIMATEDFORTRIAL ----~~~~~~~
                                                                                                                                       7

       Item 11. Indicate the correct district and courthouse location (4 steps- If you checked "Limited Case", skip to Item Ill, Pg. 4):


         Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
         case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected .


          Step 2: Check Q.!!.! Superior Court type of action in Column B below which best describes the nature of this case.

          Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
          checked. For any exception to the court location, see Local Rule 2.0.

                                  Applicable Reasons for Choosing Courthouse Location (see Column C below)

           1.   Class actions must be filed in the Stanley Mosk Courthouse, central district.              6.   Location       of property or permanently garaged vehide.
           2.   May be filed in central (other county, or no bodily injury/property damage).               7.   Location       where petitioner resides.
           3.   Location where cause of action arose.                                                      8.   Location       wherein defendanUrespondent functions wholly.
           4.   Location where bodily injury, death or damage occurred.                                    9.   Location       where one or more of the parties reside.
           5.   Location where performance required or defendant resides .                                10.   Location       of Labor Commissioner Office



          Step 4: Fill in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.
                                                                                                                                                                      By .Fax
                          : . ' ; ;j!- ::~· .: :.                                                 '. )~ ... ~·-~ ·!:: ... ~ .: ., . .'··
                         ~~IV119a~ c;:~yer Sheet     '.                                       ".type of.ACtJC!O .                :,: ·
                         .· :· ' Gl!~99ry N.o·.' ·                                          :(Cii!!Ck' dilly on~) ~: · .                   ~-   .

                                  Auto (22)               0   A7100 Motor Vehicle- Personal Injury/Property Damage/Wrongful Death                           1., 2. , 4.

                         Uninsured Motorist (46)          0   A7110 Personal Injury/Property Damage/Wrongful Death- Uninsured Motorist                      1., 2.. 4.


                                                          D   A6070 Asbestos Property Damage                                                                2.
                               Asbestos (04)
                                                          0   A7221 Asbestos- Personal Injury/Wrongful Death                                                2.

                           Product Liability (24)         0   A7260 Product Liability (not asbestos or toxic/environmental)                                 1., 2., 3. , 4., 8.

                                                          0   A7210 Medical Malpractice- Physicians & Surgeons                                              1., 4.
                         Medical Malpractice (45)
                                                          0   A7240 Other Professional Health Care Malpractice                                              1., 4.


                                                          0   A7250 Premises Liability (e.g ., slip and fall)
                                                                                                                                                            1.,4.
                                  Other
                              Personal Injury             0   A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e .g. ,
                                                                                                                                                            1., 4.
                             Property Damage                        assault, vandalism, etc.)
                                                                                                                                                            1., 3.
 ..
 ·
                              Wrongful Death
                                   (23)
                                                          0   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                            1 .. 4.
                                                          0   A7220 Other Personal Injury/Property Damage/Wrongful Death



i·-'· LAC IV 109 (Rev. 03/11)                         CIVIL CASE COVER SHEET ADDENDUM                                                                    Local Rule 2.0
;')) LASC Approved 03-04                                 AND STATE ME NT OF LOCATION                                                                        Page 1 of 4
Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 17 of 19 Page ID #:24




 SHORT TITLE:
                Alverson v. US Bank, et al.
                                                 •                                                         •
                                                                                                   CASE NUMBER




                       Business Tort (07)         0    A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1., 3.


                        Civil Rights (08)         0    A6005 Civil Rights/Discrimination                                                1., 2., 3.


                        Defamation (13)           0    A6010 Defamation (slander/libel)                                                 1 .. 2., 3.


                           Fraud (16)             0    A6013 Fraud (no contract)                                                        1., 2., 3.


                                                  0    A6017 Legal Malpractice                                                          1., 2., 3.
                  Professional Negligence (25)
                                                  0    A6050 Other Professional Malpractice (not medical or legal)                      1 .. 2., 3.


                           Other (35)             0    A6025 Other Non-Personal Injury/Property Damage tort                             2.,3.


        E
        <»
                   Wrongful Termination (36)      IZI A6037 Wrongful Termination                                                        1(Y3.
        E
        >o
        0                                         0    A6024 Other Employment Ccmplaint Case                                            1., 2 .. 3.
        a.          Other Employment (15)
        E                                         0    A6109 Labor Commissioner Appeals                                                 10.
        L6J


                                                  0    A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                        2., 5.
                                                             eviction)
                  Breach of Contract/ Warranty                                                                                          2., 5.
                              (06)                0    A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                        (not insurance)                                                                                                  1., 2., 5.
                                                  0    A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                        1., 2., 5.
                                                  0    A6028 Other Breach of Contract/Warranty (not fraud or negligence)

        u                                         0    A6002 Collections Case-Seller Plaintiff                                          2., 5., 6.
        ~0              Collections (09)
                                                  0    A6012 Other Promissory Note/Collections Case                                     2., 5.
        (.)


                    Insurance Coverage (18)       0    A6015 Insurance Coverage (not complex)                                           1., 2., 5., 8.


                                                  0    A6009 Contractual Fraud                                                           1., 2 .. 3 .. 5.
                      Other Contract (37)         0    A6031 Tortious Interference                                                       1., 2., 3., 5.

                                                  0    A6027 Other Contract Dispute(not breachflnsurancelfraudlnegligence)               1., 2., 3., 8.

                    Eminent Domain/Inverse                                                             Number of parcels _ _ _
                                                  0    A7300 Eminent Domain/Condemnation                                                2.
                      Condemnation (14)

                     Wrongful Eviction (33)       0    A6023 Wrongful Eviction Case                                                      2., 6.


                                                  0    A6018 Mortgage Foreclosure                                                        2., 6.

                    Other Real Property (26)      0    A6032 Quiet Title                                                                 2., 6.
                                                   0   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)      2., 6.

                 Unlawful Detainer-Commercial
                             (31)
                                                   0   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)               2 .. 6.

                  Unlawful Detainer-Residential
                                                   0   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)              2., 6 .
                              (32)

                      Unlawful Detainer·
                                                   0   A6020F Unlawful Detainer-Post-Foreclosure                                         2., 6.
                     Post-Foreclosure (34)

                  Unlawful Detainer-Drugs (38)     0   A6022 Unlawful Detainer-Drugs                                                     2., 6.



 !,!,t.CIV 109 (Rev. 03111)                       CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.0
  LASC Approved 03·04                                AND STATEMENT OF LOCATION                                                          Page 2 of 4
 ( i)
      Case 2:16-cv-01302-GHK-PJW Document 1-1 Filed 02/25/16 Page 18 of 19 Page ID #:25
,.J




       SHORT TITLE:
                               Alverson v. US Bank, et al.

                                                           ..
                                                                          •                                                    CASE NUMBER
                                                                                                                                            •
                               -;~· . .:-.. :. ··:';.A . ·.·..                                                     .:e .           ..
                                   . . ,:-..·. .. ·. . . . .
                               • · ·. Civil Case Co~r Sheet ' ···                                           j'ype ~(ACtion         .. · ·
                                 ::   :t:>: categoir.N~. •·      ·.   ·                                     (C~eCk fln..iJ ~n~) . · ·

                                       Asset Forfeiture (05)              0    A6108 Asset Forfeiture Case                                        2 .. 6.

                                   Petition re Arbitration (11)           0    A6115 Petition to Compei/ConfirmNacate Arbitration                 2 .. 5.

                                                                          0    A6151 Writ- Administrative Mandamus                                2 .. 8.
                                       Writ of Mandate (02)               0    A6152 Writ - Mandamus on Limited Court Case Matter                 2.

                                                                          0    A6153 Writ - Other Limited Court Case Review                       2.

                                   Other Judicial Review (39)             0    A6150 Other Writ /Judicial Review                                  2 .. 8.


                     c:         Antitrust/Trade Regulation (03)           0    A6003 Antitrust/Trade Regulation                                   1 .. 2 .. 8.
                     0
                    'ti
                    Cl                Construction Defect (1 0)           0    A6007 Construction Defect                                          1., 2 .• 3.
                    :5
                    ...
                    )(

                    c.
                                   Claims Involving Mass Tort
                                              (40)
                                                                          0    A6006 Claims Involving Mass Tort                                   1., 2., 8.
                    E
                     0
                    u                 Securities Litigation (28)          0    A6035 Securities Litigation Case                                   1 . 2 .. 8.
                    b
                    'iii
                     c:                     Toxic Tort
                     0                                                    0    A6036 Toxic Tort/Environmental                                     1 .. 2 .. 3 .. 8.
                    'iii                Environmental (30)
                    ·~
                    c...          Insurance Coverage Claims
                                                                          0    A6014 Insurance Coverage/Subrogation (complex case only)           1 .. 2 .. 5 .• 8.
                                    from Complex Case (41)

                                                                          0    A6141 Sister State Judgment                                        2 .. 9.

               cc
               ... ...
                                                                          0    A6160 Abstract of Judgment                                         2 .. 6.

                E E                        Enforcement                    0    A6107 Confession of Judgment (non-domestic relations)              2 .. 9.
               "' en
               ~~                        of Judgment (20)                 0    A6140 Administrative Agency Award (not unpaid taxes)               2 .. 8.
               .E-,
                c:-
               w           0                                              0    A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2 .. 8.
                                                                          0    A6112 Other Enforcement of Judgment Case                            2 .. 8 .. 9.

                                              RICO (27)                   0    A6033 Racketeering (RICO) Case                                     1 .. 2., 6.


                                                                          0    A6030 Declaratory Relief Only                                       1 .. 2. 8.

                                        Other Complaints                  0    A6040 Injunctive Relief Only (not domestic/harassment)             2 .. 6.
                                   (Not Specified Above) (42)              0   A6011 Other Commercial Complaint Case (non-tort/non-complex)        1 .. 2 .. 8.

                                                                           0   A6000 Other Civil Complaint (non-tort/non-complex)                  1 .. 2 .. 8.

                                      Partnership Corporation
                                                                           0   A6113 Partnership and Corporate Governance Case                     2 .. 8.
                                         Governance (21)

                                                                           0   A6121 Civil Harassment                                              2., 3., 9.

                                                                           0   A6123 Wor1<place Harassment                                         2. , 3 .. 9.
                                                                           0   A6124 Elder/Dependent Adult Abuse Case                              2 .. 3., 9 .
                                          Other Petitions
                                       (Not Specified Above)               0   A6190 Election Contest                                              2.
                                               (43)
                                                                           0   A6110 Petition for Change of Name                                   2 .. 7.
                                                                           0   A6170 Petition for Relief from Late Claim Law                       2 .. 3.,4 ., 8.

                                                                           0   A6100 Other Civil Petition                                          2 .. 9.

       li~.,)

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        ·, -·
       i. bACIV 109 (Rev. 03/11)                                          CIVIL CASE COVER SHEET ADDENDUM                                       local Rule 2.0
       .. 10SC Approved 03-04                                                AND STATEMENT OF LOCATION                                            Page 3 of4
       =•• )   ..
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 SHORT TITLE:
                                             •
                   Alverson v. US Bank, et al.
                                                                                                       •
                                                                                                CASE NUMBER




   Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
   circumstance indicated in Item II.,        Step 3 on Page 1, as the proper reason for filing in the court location you selected .

                                                                           ADDRESS:
        REASON : Check the appropriate boxes for the numbers shown         818 West Seventh Street, Suite 930
        under Column C for the type of action that you have selected for
        this case.

                01. 02. 03. 04. 05. 06. 07. 08. 09. 010.
        CITY:                                    STATE:      ZIP CODE:

      Los Angeles                                CA         90017


    Item IV. Declaration of Assignment I declare under penalty of pe~ury under the laws of the State of California that the foregoing is true
    and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                   courthouse in the
   _c_e_n_tr_a_l_ _ _ _ _ District of the Superior Court of California, County of Los Angeles (Code Civ. Proc., § 392 et seq ., and Local
    Rule 2.0, subds. (b), (c) and (d)).




    Dated: January 21,2016




    PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
    COMMENCE YOUR NEW COURT CASE:

            1.    Original Complaint or Petition.

            2.    If filing a Complaint, a completed Summons form for issuance by the Clerk.

            3.    Civil Case Cover Sheet, Judicial Council form CM-01 0.

            4.    Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                  03/11 ).

            5. Payment in full of the filing fee, unless fees have been waived.
            6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
               minor under 18 years of age will be required by Court in order to issue a summons.

            7.    Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                  must be served along with the summons and complaint, or other initiating pleading in the case.




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 h..\;ACIV 109 (Rev. 03111)                    CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.0
 rl<'SC Approved 03-04                            AND STATEMENT OF LOCATION                                                 Page 4 of4
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